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    Fill in this information to identify the case:


    United States Bankruptcy Court for the District of Delaware

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            04/20

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                Chisholm Oil and Gas Operating II, LLC


   2.   All other names debtor used                  N/A
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     1          West Third Street
                                                     Number     Street                                                     Number                    Street


                                                     Suite 1700
                                                                                                                           P.O. Box


                                                     Tulsa                       Oklahoma             74103
                                                     City                        State                ZIP Code             City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Tulsa County
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code




   5.   Debtor’s website (URL)                       N/A


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:

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Debtor          Chisholm Oil and Gas Operating II, LLC                                                      Case number (if known)
                Name




                                             A. Check one:
7.   Describe debtor’s business
                                             ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                             ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             ☒   None of the above


                                             B. Check all that apply:
                                             ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111 – Oil and Gas Extraction

8.   Under which chapter of the
                                             Check one:
     Bankruptcy Code is the
     debtor filing?                          ☐ Chapter 7
                                             ☐ Chapter 9
                                             ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
     debtor” must check the first sub-box.                       and its aggregate noncontingent liquidated debts (excluding debts owed to
     A debtor as defined in § 1182(1)                            insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
     who elects to proceed under                                 attach the most recent balance sheet, statement of operations, cash-flow
     subchapter V of chapter 11 (whether                         statement, and federal income tax return or if any of these documents do
     or not the debtor is a “small                               not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
     business debtor”) must check the
     second sub-box.
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax
                                                                 return or if any of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.
                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                 of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                 the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                 Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                 for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                 1934 Rule 12b-2.

                                             ☐ Chapter 12
9.   Were prior bankruptcy cases             ☒ No
     filed by or against the debtor
     within the last 8 years?                ☐ Yes         District                       When                              Case number
                                                                                                        MM /DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                           District                       When                              Case number
                                                                                                         MM/DD/YYYY




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Debtor          Chisholm Oil and Gas Operating II, LLC                                                      Case number (if known)
                Name


10. Are any bankruptcy cases                 ☐ No
    pending or being filed by a
    business partner or an                   ☒ Yes           Debtor        See Schedule 1                                     Relationship      See Schedule 1
    affiliate of the debtor?                                 District      District of Delaware                               When              See Schedule 1
     List all cases. If more than 1,                                                                                                            MM /DD/ YYYY
                                                             Case number, if known
     attach a separate list.



   11. Why is the case filed in this             Check all that apply:
       district?
                                                 ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                      district.
                                                 ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                             ☒ No
    possession of any real
    property or personal property            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                          Where is the property?
                                                                                           Number                    Street


                                                                                           City                               State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                Statistical and administrative information



   13. Debtor’s estimation of                Check one:
       available funds                       ☒    Funds will be available for distribution to unsecured creditors.
                                             ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                   ☐    1-49                                 ☐     1,000-5,000                              ☐      25,001-50,000
       creditors                             ☐    50-99                                ☐     5,001-10,000                             ☐      50,001-100,000
         (on a consolidated basis with all   ☐    100-199                              ☒     10,001-25,000                            ☐      More than 100,000
         affiliated debtors)
                                             ☐    200-999



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Debtor            Chisholm Oil and Gas Operating II, LLC                                                          Case number (if known)
                  Name



   15. Estimated assets1                         ☐    $0-$50,000                             ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
           (on a consolidated basis with all     ☐    $50,001-$100,000                       ☐     $10,000,001-$50 million                 ☒   $1,000,000,001-$10 billion
                                                 ☐                                                                                         ☐
           affiliated debtors)
                                                      $100,001-$500,000                      ☐     $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                                 ☐    $500,001-$1 million                    ☐     $100,000,001-$500 million               ☐   More than $50 billion

   1   On a consolidated GAAP book value basis, not fair market value basis.

   16. Estimated liabilities2                    ☐    $0-$50,000                             ☐     $1,000,001-$10 million                  ☒   $500,000,001-$1 billion
           (on a consolidated basis with all     ☐    $50,001-$100,000                       ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                                                                                                                           ☐
           affiliated debtors)
                                                 ☐    $100,001-$500,000                      ☐     $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                                 ☐    $500,001-$1 million                    ☐     $100,000,001-$500 million               ☐   More than $50 billion

   2   On a consolidated GAAP book value basis, not fair market value basis.


                   Request for Relief, Declaration, and Signatures


WARNING − Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
       17. Declaration and signature of                      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
           authorized representative of                       this petition.
           debtor
                                                             I have been authorized to file this petition on behalf of the debtor.

                                                             I have examined the information in this petition and have a reasonable belief that the information is
                                                              true and correct.
                                                              I declare under penalty of perjury that the foregoing is true and correct.

                                                                  Executed on 06/17/2020
                                                                              MM/DD/YYYY


                                                                 /s/ Michael Rigg                                             Michael Rigg
                                                                   Signature of authorized representative of                   Printed name
                                                                   debtor

                                                                   Chief Financial Officer
                                                                   Title


       18. Signature of attorney                              /s/ M. Blake Cleary                                           Date      06/17/2020
                                                               Signature of attorney for debtor                                        MM/DD/YYYY

                                                               M. Blake Cleary (No. 3614)                                    Matthew S. Barr
                                                               Printed Name

                                                               Young Conaway Stargatt & Taylor LLP                           Weil, Gotshal & Manges LLP
                                                               Firm Name

                                                               Rodney Square 1000 North King Street                          767 Fifth Avenue
                                                               Address

                                                               Wilmington, Delaware 19801                                    New York, New York 10153
                                                               City/State/Zip

                                                               (302) 571-6600                                                (212) 310-8000
                                                               Contact Phone

                                                               mbcleary@ycst.com                                             matt.barr@weil.com
                                                               Email Address

                                                                            3614                   Delaware
                                                               Bar Number                          State


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                                             Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

           On the date hereof, each of the affiliated entities listed below (collectively, the
“Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the District of Delaware. The Debtors have filed
a motion requesting that the chapter 11 cases of these entities be consolidated for procedural
purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure.

                                        COMPANY
                     Chisholm Oil and Gas Operating II, LLC
                     Chisholm Oil and Gas Operating, LLC
                     Cottonmouth SWD, LLC
                     Chisholm Oil and Gas Nominee, Inc.
                     Chisholm Oil and Gas Management II, LLC
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                WRITTEN CONSENT OF THE BOARD OF DIRECTORS
                                   OF
                    CHISHOLM OIL AND GAS HOLDINGS, LLC

                                            AND

                         THE MANAGING MEMBERS
                                    OF
                 CHISHOLM OIL AND GAS INTERMEDIATE II, LLC,
                  CHISHOLM OIL AND GAS MANAGEMENT, LLC,
                 CHISHOLM OIL AND GAS MANAGEMENT II, LLC,
                  CHISHOLM OIL AND GAS OPERATING III, LLC,
                  CHISHOLM OIL AND GAS OPERATING II, LLC,
                   CHISHOLM OIL AND GAS OPERATING, LLC,
                                   AND
                         COTTONMOUTH SWD, LLC,

                                            AND

                           THE SOLE STOCKHOLDER
                                     OF
                      CHISHOLM OIL AND GAS NOMINEE, INC.

                                        June 17, 2020

                The undersigned – who are (x) the requisite number of directors of the board of
directors (the “Board”) of Chisholm Oil and Gas Holdings, LLC, a Delaware limited liability
company (the “Company”), (y) the managing members (the “Managing Members”) of Chisholm
Oil and Gas Intermediate II, LLC, a Delaware limited liability company (“Intermediate II”),
Chisholm Oil and Gas Management, LLC, a Delaware limited liability company
(“ManagementCo”), Chisholm Oil and Gas Management II, LLC, a Delaware limited liability
company (“Management II”), Chisholm Oil and Gas Operating III, LLC, a Delaware limited
liability company (“Operating III”), Chisholm Oil and Gas Operating II, LLC, a Delaware limited
liability company (“Operating II”), Chisholm Oil and Gas Operating, LLC, a Delaware limited
liability company (“OpCo”), and Cottonmouth SWD, LLC, a Delaware limited liability company
(“Cottonmouth”), and (z) the sole stockholder (the “Sole Stockholder”) of Chisholm Oil and Gas
Nominee, Inc., a Delaware corporation (“Nominee” and together with Intermediate II,
ManagementCo, Management II, Operating III, Operating II, OpCo, and Cottonmouth, the
“Subsidiaries”) – take the below actions and approve the below resolutions.

             WHEREAS, the Company is the managing member of, and owns 100% of the
membership interests in, Intermediate II; Intermediate II is the managing member of, and owns
100% of the membership interests in, ManagementCo; ManagementCo is the managing member
of Management II; ManagementCo is the managing member of, and owns 100% of the
membership interests in, Operating III; Operating III is the managing member of, and owns 100%
of the membership interests in, Operating II; Operating II is the managing member of, and owns
100% of the membership interests in, OpCo; OpCo is the managing member of, and owns 100%
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of the membership interests in, Cottonmouth; and OpCo is the sole stockholder of, and owns 100%
of the shares of common stock of Nominee;

               WHEREAS, the Board, each Managing Member, in its capacity as managing
member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole stockholder
of Nominee, have, with the assistance of (i) financial advice from financial advisors and
management of the Company and its Subsidiaries, (ii) legal advice from outside counsel to the
Company and its Subsidiaries, and (iii) management of the Company and its Subsidiaries, fully
considered each of the strategic alternatives available to the Company and the Subsidiaries and has
had the opportunity to ask questions about the materials presented by management and the legal
and financial advisors of the Company and its Subsidiaries regarding the liabilities and liquidity
of the Company and the Subsidiaries and the strategic alternatives available to the Company and
the Subsidiaries; and

                WHEREAS, the Board, each Managing Member, in its capacity as managing
member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole stockholder
of Nominee, have determined that taking the actions set forth below are advisable and in the best
interests of the Company and each of the Subsidiaries and, therefore desire to approve the below
resolutions.

Commencement of Chapter 11 Cases

                WHEREAS, certain of the Company’s subsidiaries intend to implement a financial
restructuring through a pre-negotiated plan of reorganization (the “Plan”) and the commencement
by each of Operating II, OpCo, Management II, Cottonmouth, and Nominee (together, the “Filing
Parties”) of a voluntary case under chapter 11 of title 11 of the United States Code(collectively,
the “Chapter 11 Cases”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”);

               WHEREAS, the Transaction Subcommittee of the Board (the “Committee”),
which committee is comprised of independent, disinterested directors, has recommended to the
Board that the Board authorize and approve the commencement by each Filing Party of a Chapter
11 Case in the Bankruptcy Court in connection with the Plan; and

                 WHEREAS, the Board, each Managing Member, in its capacity as managing
member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole stockholder
of Nominee, having consulted with management of the Company and its Subsidiaries, having
received and considered advice from legal and financial advisors of the Company and its
Subsidiaries, and having considered the recommendation of the Committee, deem it desirable and
in the best interests of each Filing Party, their creditors, and other parties in interest that the Chapter
11 Cases be commenced.

                 NOW, THEREFORE, BE IT RESOLVED, that the Board, each Managing
Member, in its capacity as managing member of its direct subsidiary, and the Sole Stockholder, in
its capacity as the sole stockholder of Nominee, adopt the recommendations of the Committee that
each Filing Party respectively commence a Chapter 11 Case in the Bankruptcy Court in connection
with the Plan; and

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                 RESOLVED FURTHER, that any manager, officer, or director of the Company
and each Filing Party, as applicable (each, an “Authorized Person”), who may act without the
joinder of any other Authorized Person, is hereby authorized, empowered, and directed to execute
and file, or cause to be executed and filed, in the name and on behalf of the applicable Filing Party,
all plans, petitions, schedules, statements, motions, lists, applications, pleadings, orders, and other
documents in the Bankruptcy Court and to take and perform any and all further acts and deeds
which such Authorized Person, who may act without the joinder of any other Authorized Person,
deems necessary, proper, or desirable in connection with the Chapter 11 Cases in the Bankruptcy
Court and the Plan, including negotiating, executing, delivering, and performing any and all
documents, agreements, certificates, and instruments in connection with the successful prosecution
thereof.

Retention of Advisors

               WHEREAS, the Committee has recommended to the Board that the Board
authorize and approve the retention by each Filing Party of certain advisors in connection with the
Chapter 11 Cases, subject to Bankruptcy Court approval; and

                 WHEREAS, the Board, each Managing Member, in its capacity as managing
member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole stockholder
of Nominee, having consulted with management of the Company and its Subsidiaries, having
received and considered advice from legal and financial advisors of the Company and its
Subsidiaries, and having considered the recommendation of the Committee, deem it desirable and
in the best interests of each Filing Party, their creditors, and other parties in interest that each Filing
Party retain certain advisors in connection with the Chapter 11 Cases.

                NOW, THEREFORE, BE IT RESOLVED, that the Board, each Managing
Member, in its capacity as managing member of its direct Subsidiary, and the Sole Stockholder,
in its capacity as the sole stockholder of Nominee, adopt the recommendations of the Committee
that such advisors be retained by each Filing Party;

               RESOLVED FURTHER, that the law firm of Weil, Gotshal & Manges LLP,
located at 767 Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for each Filing
Party in the Chapter 11 Cases, subject to Bankruptcy Court approval;

               RESOLVED FURTHER, that Young Conaway Stargatt & Taylor, LLP, located at
1000 North King Street, Wilmington, DE 19801, is hereby retained as attorneys for each Filing
Party in the Chapter 11 Cases, subject to Bankruptcy Court approval;

              RESOLVED FURTHER, that Evercore Group LLC, located at 55 East 52nd
Street, New York, NY 10055, is hereby retained as investment banker for each Filing Party in the
Chapter 11 Cases, subject to Bankruptcy Court approval;

               RESOLVED FURTHER, that Alvarez & Marsal North America, LLC, located at
600 Madison Avenue, 8th Floor, New York, NY 10022, is hereby retained as financial advisor for
each Filing Party in the Chapter 11 Cases, subject to Bankruptcy Court approval; and



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               RESOLVED FURTHER, that Omni Agent Solutions, located at 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, is hereby retained as claims, notice, and
solicitation agent for each Filing Party in the Chapter 11 Cases, subject to Bankruptcy Court
approval.

Use of Cash Collateral

               WHEREAS, the Committee has recommended to the Board that the Board
authorize and approve for each Filing Party to provide adequate protection in connection with the
Chapter 11 Cases, including paying certain fees, to certain of their prepetition secured lenders
pursuant to consensual cash collateral orders (the “Cash Collateral Orders”); and

                WHEREAS, the Board, each Managing Member, in its capacity as managing
member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole stockholder
of Nominee, having considered the terms of the Cash Collateral Orders, and having consulted with
the management of the Company and its subsidiaries, having received and considered advice from
the legal and financial advisors of the Company and its subsidiaries and having considered the
recommendation of the Committee, deem it advisable and in the best interests of each Filing Party
to enter into the transactions contemplated therein.

                NOW, THEREFORE, BE IT RESOLVED, that the Board, each Managing
Member, in its capacity as managing member of its direct Subsidiary, and the Sole Stockholder,
in its capacity as the sole stockholder of Nominee, adopt the recommendations of the Committee
that each Filing Party provide adequate protection pursuant to the Cash Collateral Orders;

                RESOLVED FURTHER, that the Board, each Managing Member, in its capacity
as managing member of its direct Subsidiary, and the Sole Stockholder, in its capacity as the sole
stockholder of Nominee, authorize and direct the Authorized Persons to take such action as such
persons deem necessary or appropriate to cause each Filing Party, respectively, to complete the
transactions contemplated by the Cash Collateral Orders, on terms and conditions similar to those
previously provided to the Board, the Managing Members, and the Sole Stockholder, and any and
all other agreements, documents, or instruments required or appropriate in connection with or
incidental to the transactions contemplated by the foregoing;

General Authorization and Ratification

                RESOLVED FURTHER, that each Authorized Person be, and each, acting alone,
hereby is, authorized, empowered, and directed, for and on behalf of the Company and each Filing
Party, as applicable, to do and perform all such acts and things and enter into, execute,
acknowledge, deliver, and file all such certificates, agreements, acknowledgments, instruments,
contracts, statements, and other documents and to take such further actions as such Authorized
Person may deem necessary or appropriate to effect the intent and accomplish the purposes of the
foregoing resolutions, with the taking of any such action by such Authorized Person being
conclusive evidence that the same did meet such standards as set forth above; and

                RESOLVED FURTHER, that any and all actions taken by any Authorized Person
prior to the date of adoption of the foregoing resolutions, which would have been authorized by
the foregoing resolutions but for the fact that such actions were taken prior to such date, be, and
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each hereby is, ratified, approved, confirmed, and adopted as a duly authorized act of the Company
or any Filing Party in all respects and for all purposes.

               This written consent may be executed in one or more counterparts and transmitted
via electronic means.

                                     [Signature Page Follows]




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               IN WITNESS WHEREOF, each of the undersigned members of the Board, the
Managing Members, and the Sole Stockholder has executed this consent as of the date first
written above.



                                                BOARD OF DIRECTORS OF
                                                CHISHOLM OIL AND GAS HOLDINGS, LLC



                                                GEOFFREY STRONG



                                                CHRISTINE HOMMES



                                                CHRISTOPH SCHMIDT



                                                NATE WALTON



                                                GARY LEVIN



                                                STEWART WEINGEIST



                                                PAUL ARONZON



                                                WILLIAM TRANSIER




         [Signature Page to Written Consent   The Board and Managing Members of Filing Parties]
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               IN WITNESS WHEREOF, each of the undersigned members of the Board, the
Managing Members, and the Sole Stockholder has executed this consent as of the date first
written above.



                                               BOARD OF DIRECTORS OF
                                               CHISHOLM OIL AND GAS HOLDINGS, LLC



                                               GEOFFREY STRONG



                                               CHRISTINE HOMMES



                                               CHRISTOPH SCHMIDT



                                               NATE WALTON



                                               GARY LEVIN



                                               STEWART WEINGEIST



                                               PAUL ARONZON



                                               WILLIAM TRANSIER




         [Signature Page to Written Consent – The Board and Managing Members of Filing Parties]
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               IN WITNESS WHEREOF, each of the undersigned members of the Board, the
Managing Members, and the Sole Stockholder has executed this consent as of the date first
written above.



                                               BOARD OF DIRECTORS OF
                                               CHISHOLM OIL AND GAS HOLDINGS, LLC



                                               GEOFFREY STRONG



                                               CHRISTINE HOMMES



                                               CHRISTOPH SCHMIDT



                                               NATE WALTON



                                               GARY LEVIN



                                               STEWART WEINGEIST



                                               PAUL ARONZON



                                               WILLIAM TRANSIER




         [Signature Page to Written Consent – The Board and Managing Members of Filing Parties]
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               IN WITNESS WHEREOF, each of the undersigned members of the Board, the
Managing Members, and the Sole Stockholder has executed this consent as of the date first
written above.



                                                BOARD OF DIRECTORS OF
                                                CHISHOLM OIL AND GAS HOLDINGS, LLC



                                                GEOFFREY STRONG



                                                CHRISTINE HOMMES



                                                CHRISTOPH SCHMIDT



                                                NATE WALTON



                                                GARY LEVIN



                                                STEWART WEINGEIST



                                                PAUL ARONZON



                                                WILLIAM TRANSIER




         [Signature Page to Written Consent   The Board and Managing Members of Filing Parties]
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               IN WITNESS WHEREOF, each of the undersigned members of the Board, the
Managing Members, and the Sole Stockholder has executed this consent as of the date first
written above.



                                               BOARD OF DIRECTORS OF
                                               CHISHOLM OIL AND GAS HOLDINGS, LLC



                                               GEOFFREY STRONG



                                               CHRISTINE HOMMES



                                               CHRISTOPH SCHMIDT



                                               NATE WALTON



                                               GARY LEVIN



                                               STEWART WEINGEIST



                                               PAUL ARONZON



                                               WILLIAM TRANSIER




         [Signature Page to Written Consent – The Board and Managing Members of Filing Parties]
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    Fill in this information to identify the case:

    Debtor name: Chisholm Oil and Gas Operating II, LLC
    United States Bankruptcy Court for the District of Delaware
                                                    (State)
    Case number (If known):                                                                                                                       ☐ Check if this is an
                                                                                                                                                  amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
Name of creditor and complete mailing      Name, telephone number, and email              Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                address of creditor contact                      claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                         example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                           debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                              loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                            contracts)
                                                                                                                              Total claim, if      Deduction for         Unsecured
                                                                                                                                partially             value of             claim
                                                                                                                                secured             collateral or
                                                                                                                                                       setoff
1                                          DAVID T. MERRILL
        UNIT DRILLING COMPANY
                                           EMAIL - DAVID.MERRILL@UNITCORP.COM
        8200 SOUTH UNIT DRIVE                                                            Trade Payable                                                                  $2,905,500
                                           PHONE - (918) 493-7700
        TULSA, OK 74132
                                           FAX - (918) 493-7711
2                                          JEFF MILLER
        HALLIBURTON ENERGY SERVICES IN
                                           EMAIL - JEFF.MILLER@HALLIBURTON.COM
        300 N SAM HOUSTON PKWY E                                                         Trade Payable                                                                  $2,553,281
                                           PHONE - (281) 871-4000
        HOUSTON, TX 77032
                                           FAX - (281) 871-4621
3                                          ANDREA DAVIDSON
        LEGACY DRILLING LLC
                                           EMAIL -
        203 EAST 80TH STREET                                                             Trade Payable                                                                  $2,504,112
                                           PHONE - (405) 714-0848
        STILLWATER, OK 74074
                                           FAX - (405) 707-7280
4       ALTA MESA SERVICES, LP             MARK CASTIGLIONE
        15021 KATY FREEWAY                 EMAIL - MCASTLIGIONE@ALTAMESA.NET
                                                                                         Trade Payable                                                                  $1,496,233
        4TH FLOOR                          PHONE - (281) 530-0991
        HOUSTON, TX 77094                  FAX -
5                                          HEATH CASEY
        RELIANCE OILFIELD SERVICES, LLC
                                           EMAIL -
        TWO WEST 2ND STREET
                                           HEATH.CASEY@RELIANCEOFS.COM                   Trade Payable                                                                   $629,500
        SUITE 1205
                                           PHONE – (918) 392-9000
        TULSA, OK 74103
                                           FAX -
6       MESA NATURAL GAS SOLUTIONS,        SCOTT GROMER
        LLC                                EMAIL - SCOTT@247MESA.COM
                                                                                         Trade Payable                                                                   $599,243
        5151 RESERVE DRIVE                 PHONE - (307) 472-6372
        EVANSVILLE, WY 82636               FAX -
7                                          MASON HENDERSON
        HEARTLAND COMPRESSION              EMAIL -
        SERVICES                           MASON.HENDERSON@HEARTLANDCOMP
                                                                                         Trade Payable                                                                   $523,428
        26894 S HWY. 50                    RESSION.COM
        MOORELAND, OK 73852                PHONE -
                                           FAX - (580) 334-2539
8       OVINTIV MID-CONTINENT INC          DOUG SUTTLES
        4 WATERWAY SQUARE PLACE            EMAIL -
                                                                                         Trade Payable                                                                   $514,325
        SUITE 100                          PHONE - (281) 210-5100
        THE WOODLANDS, TX 77380            FAX - (281) 210-5101

    Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 1
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               Chisholm Oil and Gas Operating II, LLC                                                 Case number (if known)
               Name

Name of creditor and complete mailing     Name, telephone number, and email              Nature of the       Indicate if    Amount of unsecured claim
address, including zip code               address of creditor contact                      claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                          debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                             loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                               Total claim, if    Deduction for         Unsecured
                                                                                                                                 partially           value of             claim
                                                                                                                                 secured           collateral or
                                                                                                                                                      setoff
9
        VICTORIA W & C RONALD LEWIS JT    EMAIL - VICTORIA.LEWIS3@YAHOO.COM
        1710 PLAZA CIR                    PHONE - (515) 278-4202                           Royalty                                                                      $497,509
        WINDSOR HEIGHTS, IA 50322         FAX -

10                                        LLOYD BROWN
        SMART CHEMICAL SERVICES, LP       EMAIL -
        3220 CHURCH STREET                LLOYD.BROWN@SMARTCHEMICAL.COM                 Trade Payable                                                                   $440,579
        AMARILLO, TX 79109                PHONE - (806) 654-5082
                                          FAX -
11                                        TRAVIS OVERALL
                                          EMAIL -
        BSREP II HOUSTON OFFICE
                                          TRAVIS.OVERALL@BROOKFIELDPROPERTIE
        1200 SMITH STREET, SUITE 1200                                                   Trade Payable                                                                   $429,562
                                          S.COM
        HOUSTON, TX 77002
                                          PHONE - (713) 336-2117
                                          FAX -
12                                        CHUCK DUGINSKI
                                          EMAIL -
        CHAPARRAL ENERGY LLC
                                          CHUCK.DUGINSKI@CHAPARRALENERGY.C
        701 CEDAR LAKE BLVD                                                             Trade Payable                                                                   $405,087
                                          OM
        OKLAHOMA CITY, OK 73114
                                          PHONE - (405) 234-9000
                                          FAX - (405) 478-8770
13                                        MARLIN ESAU
        MARSAU ENTERPRISES INC.
                                          EMAIL - MARLINESAU@HOTMAIL.COM
        1209 N. 30TH                                                                    Trade Payable                                                                   $ 377,682
                                          PHONE – (580) 233-3910
        ENID, OK 73701
                                          FAX - (580) 233-5063
14                                        SCOTT VAN SICKLE
        REVOLUTION II WI HOLDING          EMAIL -
        14301 CALIBER DRIVE SUITE 110     SCOTTV@REVOLUTIONRESOURCES.COM                Trade Payable                                                                   $349,800
        OKLAHOMA CITY, OK 73134           PHONE -
                                          FAX -
15                                        ANDREW SCHROEDER
        DYER COATNEY SCHROEDER
                                          EMAIL -
        ATTORNEYS
                                          ASCHROEDER@DCSLAWFIRM.COM                     Trade Payable                                                                   $ 336,831
        16328 MUIRFIELD PL
                                          PHONE - (405) 753-1195
        EDMOND, OK 73013
                                          FAX - (405) 753-1196
16
                                          EMAIL -
        MICHELE KNOTTS
                                          PHONE -                                         Severance                                                                     $325,000
        ADDRESS ON FILE
                                          FAX -

17                                        DAVID ROLENS
        MILROC DISTRIBUTION LLC           EMAIL -
        4700 WESTERN AVE                  ROLENS@MILROCDISTRIBUTION.COM                 Trade Payable                                                                   $278,955
        WOODWARD, OK 73801                PHONE - (580) 256-0061
                                          FAX -
18                                        JIM WILSON
        GREAT PLAINS GAS COMPRESSION
                                          EMAIL -
        210 E. 1ST ST.                                                                  Trade Payable                                                                   $276,877
                                          PHONE – (620) 544-4191
        HUGOTON, KS 67951
                                          FAX - (620) 544-4141
19      USA COMPRESSION PARTNERS, LLC     ERIC LONG
        111 CONGRESS AVENUE               EMAIL - ELONG@USACOMPRESSION.COM
                                                                                        Trade Payable                                                                   $252,245
        SUITE 2400                        PHONE - (214) 378-8651
        AUSTIN, TX 78701                  FAX - (512) 473-2616




    Official Form 204                               List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 2
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            Chisholm Oil and Gas Operating II, LLC                                                   Case number (if known)
            Name

Name of creditor and complete mailing    Name, telephone number, and email              Nature of the       Indicate if    Amount of unsecured claim
address, including zip code              address of creditor contact                      claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                       example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                         debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                            loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                        professional
                                                                                        services, and
                                                                                        government
                                                                                          contracts)
                                                                                                                              Total claim, if    Deduction for         Unsecured
                                                                                                                                partially           value of             claim
                                                                                                                                secured           collateral or
                                                                                                                                                     setoff
20   CRAWLEY PETROLEUM                   JASON GARNER
     CORPORATION                         EMAIL -
     105 N HUDSON AVE                    JASONG@CRAWLEYPETROLEUM.COM                   Trade Payable                                                                   $234,849
     #800                                PHONE - (405) 232-9700
     OKLAHOMA CITY, OK 73102             FAX -
21                                       BRIAN HOPSON
                                         EMAIL -
     CIMARRON VALLEY RENTALS,
                                         CIMARRONVALLEYRENTALSLLC@HOTMAIL
     LLC14946 W COUNTY RD                                                              Trade Payable                                                                   $216,214
                                         .COM
     74CRESCENT, OK 73028
                                         PHONE –
                                         FAX -
22
     WHITING OIL AND GAS CORP
                                         EMAIL -
     1700 LINCOLN, SUITE 4700                                                          Trade Payable                                                                   $200,000
                                         PHONE -
     DENVER, CO 80203
                                         FAX -
23                                       ABEL MORENO
     QUICK PUMP SERVICE LLC
                                         EMAIL - QUICKPUMP@PLDI.NET
     7284 SOUTH HWY 81                                                                 Trade Payable                                                                   $199,345
                                         PHONE -
     HENNESSEY, OK 73742
                                         FAX -
24                                       RICK CARUTHERS
     RICK CARUTHERS CONSTRUCTION
                                         EMAIL - DOZERS1@SBCGLOBAL.NET
     821 S OHIO AVE                                                                    Trade Payable                                                                   $199,127
                                         PHONE -
     CHEROKEE, OK 73728
                                         FAX -
25
                                         EMAIL -
     SEAN LISOOEY
                                         PHONE -                                         Severance                                                                     $195,833
     ADDRESS ON FILE
                                         FAX -

26   ABADIE & SCHILL PC                  LON ABADIE
     555 RIVERGATE LANE                  EMAIL - LON@ABADIESCHILL.COM
                                                                                       Trade Payable                                                                   $182,633
     SUITE B4-180                        PHONE - (970) 385-4401
     DURANGO, CO 81301                   FAX - (970) 385-4901
27                                       ANDY FERGUSON
     THRU TUBING SOLUTIONS
                                         EMAIL - AFERGUSON@THRUTUBING.COM
     225 HAILEYVILLE AVE                                                               Trade Payable                                                                   $153,837
                                         PHONE -
     MCALESTER, OK 74501
                                         FAX - 405-692-1911
28                                       PHILLIP SHERMAN
     LEGACY OFS CONSTRUCTION LLC         EMAIL -
     1245 INDEPENDENCE ST                PHILLIPSHERMAN84@YAHOO.COM                    Trade Payable                                                                   $153,795
     LUCIEN, OK 73757-9503               PHONE -
                                         FAX -
29                                       JACK STARK
     CONTINENTAL RESOURCES, INC.
                                         EMAIL - JACK.STARK@CLR.COM
     20 N. BROADWAY                                                                    Trade Payable                                                                   $147,212
                                         PHONE -
     OKLAHOMA CITY, OK 73102
                                         FAX - (405) 234-9253
30                                       JESSICA TAYLOR
     ALLAMON TOOL COMPANY INC
                                         EMAIL - JTAYLOR@ALLAMONTOOL.COM
     18935 FREEPORT DR                                                                 Trade Payable                                                                   $142,333
                                         PHONE -
     MONTGOMERY, TX 77356
                                         FAX -




 Official Form 204                                 List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 3
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

   ----------------------------------------------------- x
   In re:                                                :   Chapter 11
                                                         :
   CHISHOLM OIL AND GAS                                  :   Case No. 20– ________ (   )
   OPERATING II, LLC                                     :
                     Debtor.                             :
   ----------------------------------------------------- x

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

       Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached hereto

as Exhibit A is an organizational chart reflecting all of the ownership interests in Chisholm Oil

and Gas Operating, LLC and certain of its affiliates, as proposed debtors and debtors in possession

(collectively, the “Debtors”). The Debtors respectfully represent as follows:

                1.       Ares Management, LLC, by and through certain affiliates, owns

approximately 58% of the membership interests in Chisholm Oil and Gas Holdings, LLC, and

Apollo Global Management LLC, by and through certain affiliates, owns approximately 42% of

the membership interests in Chisholm Oil and Gas Holdings, LLC.

                2.       Chisholm Oil and Gas Holdings, LLC directly owns 100% of the

membership interests in Chisholm Oil and Gas Intermediate II, LLC.

                3.       Chisholm Oil and Gas Intermediate II, LLC directly owns 100% of the

membership interests in Chisholm Oil and Gas Management, LLC.

                4.       Chisholm Oil and Gas Management, LLC directly owns 100% of the

membership interests in:

                a. Chisholm Oil and Gas Intermediate, LLC;

                b. Chisholm Oil and Gas Operating III, LLC; and

                c. Chisholm Oil and Gas Midstream, LLC.
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               5.       Chisholm Oil and Gas Management, LLC directly owns 99% of the

membership interests in Chisholm Oil and Gas Management II, LLC, and Chisholm Oil and Gas

Intermediate, LLC directly owns 1% of the membership interests in Chisholm Oil and Gas

Management II, LLC.

               6.       Chisholm Oil and Gas Operating III, LLC directly owns 100% of the

membership interests in Chisholm Oil and Gas Operating II, LLC.

               7.       Chisholm Oil and Gas Operating II, LLC directly owns 100% of the

membership interests in Chisholm Oil and Gas Operating, LLC.

               8.       Chisholm Oil and Gas Operating, LLC directly owns 100% of the

membership interests or equity interests, as applicable, in:

               a. Cottonmouth SWD, LLC; and

               b. Chisholm Oil and Gas Nominee, Inc.
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                        Exhibit A

                Organizational Chart
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    ----------------------------------------------------- x
    In re:                                                :       Chapter 11
                                                          :
    CHISHOLM OIL AND GAS                                  :       Case No. 20– ________ (             )
    OPERATING II, LLC                                     :
                      Debtor.                             :
    ----------------------------------------------------- x

      LIST OF EQUITY HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(3) 1

        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having a direct or indirect ownership interest in the above-captioned debtor

in possession.

Check applicable box:

☐       There are no equity security holders or corporations that directly or indirectly own 10%
        or more of any class of the debtor’s equity interest.

☒       The following are the debtor’s equity security holders (list holders of each class, showing
        the number and kind of interests registered in the name of each holder, and the last
        known address or place of business of each holder):

    Name and Last Known Address of Equity                        Kind/Class of                Number of
                 Interest Holder                                   Interest                 Interests Held
           Chisholm Oil and Gas, LLC
                                                               Series A Units in
      c/o Apollo Management Holdings, L.P.
                                                               Chisholm Oil and
                9 West 57th Street                                                                58%
                                                                Gas Holdings,
                    43rd Floor
                                                                     LLC
              New York, NY 10019
               Gastar Holdco LLC,
                                                               Series A Units in
     c/o ACOF Investment Management LLC
                                                               Chisholm Oil and
            2000 Avenue of the Stars                                                              42%
                                                                Gas Holdings,
                    12th Floor
                                                                     LLC
          Los Angeles, California 90067




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the chapter 11 cases.
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Name and Last Known Address of Equity         Kind/Class of         Number of
           Interest Holder                       Interest         Interests Held
                                               Membership
  Chisholm Oil and Gas Holdings, LLC
                                                Interests in
          1 West Third Street
                                             Chisholm Oil and           100%
               Suite 1700
                                             Gas Intermediate
        Tulsa, Oklahoma 74103
                                                  II, LLC
                                               Membership
Chisholm Oil and Gas Intermediate II, LLC
                                                Interests in
          1 West Third Street
                                             Chisholm Oil and           100%
               Suite 1700
                                             Gas Management,
        Tulsa, Oklahoma 74103
                                                    LLC
                                               Membership
 Chisholm Oil and Gas Management, LLC
                                                Interests in
           1 West Third Street
                                             Chisholm Oil and           100%
                Suite 1700
                                             Gas Operating III,
         Tulsa, Oklahoma 74103
                                                    LLC
                                               Membership
 Chisholm Oil and Gas Operating III, LLC
                                                Interests in
           1 West Third Street
                                             Chisholm Oil and           100%
                Suite 1700
                                             Gas Operating II,
         Tulsa, Oklahoma 74103
                                                    LLC
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 Fill in this information to identify the case:

 Debtor name: Chisholm Oil and Gas Operating II, LLC
 United States Bankruptcy Court for the District of Delaware
                                                (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is
not included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of
   the partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the
   information is true and correct:
   ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐      Schedule H: Codebtors (Official Form 206H)
   ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐      Amended Schedule ____
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
          Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity
          Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on 06/17/2020
                                                      /s/ Michael Rigg
                                                       Signature of individual signing on behalf of debtor
                    MM/DD/YYYY
                                                       Michael Rigg
                                                       Printed name

                                                       Chief Financial Officer
                                                       Position or relationship to debtor
